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                          UNITED STATES DISTRICT COURT

                             DISTRICT OF MINNESOTA

CHRISTOPHER KOHLS and,                          Case No. 24-cv-03754 (LMP/DLM)
MARY FRANSON

            Plaintiffs,

      vs.

KEITH ELLISON, in his official capacity
as Attorney General of Minnesota, and
CHAD LARSON, in his official capacity
as County Attorney of Douglas County,

            Defendants.



DEFENDANT ATTORNEY GENERAL KEITH ELLISON’S MEMORANDUM
            OPPOSING PRELIMINARY INJUNCTION
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                                      INTRODUCTION
         In September 2023, two days before polls opened, a purported audio recording of a

conversation between the leader of Progressive Slovakia and a leading newspaper’s editor

went viral on social media. In the recording, the candidate—who was then leading in the

polls—appeared to discuss how his party had rigged the election. This recording followed

hot on the heels of a viral video purporting to show the candidate promising to raise the

price of beer. He then narrowly lost the election to a candidate with close ties to Vladmir

Putin. Months later, on the day before voting started for New Hampshire’s U.S. presidential

primary, thousands of New Hampshire voters received a robocall from “Joe Biden”

discouraging them from voting in the Democratic primary.

         While arising in different countries and political contexts, a common thread united

these incidents: “deepfakes.” Deepfakes are highly realistic video, audio, and other digital

content generated by artificial intelligence (AI) that show a person doing or saying

something they did not. Deepfakes are rapidly transforming the misinformation landscape

across the globe.

         With the growing threat of AI-generated misinformation, Minnesota and dozens of

states across the political spectrum responded to the unique threats posed by deepfakes to

elections.1 In 2023 and 2024, Minnesota enacted a narrow statute that criminalizes the

knowing or reckless dissemination of deepfakes that are intended to injure a candidate or

influence an election. Minnesota’s law only applies to deepfakes that a reasonable person




1
    https://www.citizen.org/article/tracker-legislation-on-deepfakes-in-elections/

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would perceive as real. And it only applies in short, defined periods before elections, when

counterspeech and traditional methods of debunking misinformation are least effective.

       Plaintiffs Christopher Kohls is a self-described content creator and Mary Franson a

Minnesota legislator who likes to post AI-created parodies of real politicians. They claim

that Minnesota’s deepfake law violates the First and Fourteenth Amendments and seek a

pre-enforcement injunction. The Court should deny their motion for three principal

reasons. First, Plaintiffs lack standing because Minnesota’s statute does not cover the

parodies they seek to disseminate or have disseminated). Second, even if Plaintiffs had

standing, they failed to establish a likelihood of success on their facial First Amendment

and vagueness challenges.

       Finally, Plaintiffs’ delay in seeking injunctive relief discredits any claim of

irreparable harm. Minnesota’s deepfake statute has been in effect since 2023. Franson even

voted for the law. Yet Plaintiffs waited until 16 months after the law was first passed, and

over four months after it was amended this year, to sue. Moreover, because the statute

applies only in certain defined periods before an election, it will not even be enforceable

when the Court hears this motion. The Court should deny injunctive relief.

                                    BACKGROUND

I.     THE DANGERS OF DEEPFAKES TO ELECTIONS AND DEMOCRACY.

       A.     Overview of AI and Deepfakes.

       In the past two years, AI has developed and improved in unprecedented ways. AI

“refers to computer systems designed to perform tasks that typically require human

intelligence, such as recognizing speech, making decisions, solving problems, and


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understanding natural language.” Hancock Decl. ¶ 7. Within the broader AI universe,

“Generative AI” can “create[] new content—such as text, images, or videos—by learning

patterns from large datasets.” Id. ¶ 8. The paradigmatic examples of generative AI are

Large Language Models (LLMs) like ChatGPT. Id. LLMs are now powerful tools on social

media platforms. Id. ¶ 9. Among other things, LLMs can create social media content, power

chatbots and virtual assistants, engage in content moderation, recommend content to users,

and generate images and videos. Id.

       Deepfakes are a type of generative AI. Id. ¶ 10; West Decl. ¶¶ 7-12. These digital

“forgeries” are “highly realistic, AI-generated manipulations of digital content—typically

videos or images—where a person’s likeness, voice, or actions are convincingly altered or

fabricated.” Hancock Decl. ¶ 10. Deepfakes thus “mimic real and nonexistent people

saying and doing things that never happened.” West. Decl. ¶ 7.

       Recent advancements in generative AI have had a profound impact on the

production of deepfakes. Hancock Decl. ¶¶ 14-16. Deepfakes are now easier than ever to

produce—and more realistic than ever. Id. Indeed, in the past, creating convincing audio

and video required expertise and could take months. West Decl. ¶¶ 8-9. Now, nearly

anyone can create a deepfake in seconds with a short prompt and for a small subscription

fee. Id. Moreover, the quality of those deepfakes has improved dramatically. Id. While

early deepfake images “struggled” to replicate various human features, those “weaknesses

have nearly been erased.” Id. ¶ 12. And nearly as quickly as certain “tells” of deepfakes

become known, the technology has already progressed to eliminate enhance those features

such that they are no longer reliable in spotting a deepfake. Id.


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       B.     Deepfakes Enhance         the   Pervasiveness     and    Persuasiveness       of
              Misinformation.

       The combination of rapid technological advancements and the viral nature of social

media has significantly transformed the misinformation landscape. Hancock Decl. ¶ 17.

Deepfakes spread most effectively through social-media platforms like Facebook,

Instagram, X, YouTube, TikTok Reddit, 4chan, Telegram, and WhatsApp. West Decl.

¶¶ 13-16. Generative AI makes it cheap and easy to produce large amounts of false and

misleading deepfakes that spread through these mediums. Hancock Decl. ¶ 17. It also

allows misinformation, in the form of deepfakes, to be tailored to specific audiences and

individuals. Id. These deepfakes are hard to detect. Id. And they are hard to combat. Id.

       The reason is that deepfakes “enhance the persuasiveness of misinformation.” Id.

¶ 18. Humans tend to trust “what they see and hear,” which makes deepfakes “particularly

effective in influencing beliefs and opinions.” Id. A growing body of psychological

research shows that deepfakes are more likely to be believed than text-based

misinformation. Id. ¶ 19. That same research shows that deepfakes “can significantly

influence political beliefs by presenting convincing false narratives that are difficult to

refute,” undermining social trust in vital institutions. Id. ¶¶ 20-23. Indeed, even when told

about a deception, individuals struggle to identify deepfakes. Id. The challenge is more

pronounced on social media, where deepfakes proliferate. Id.

       Because deepfakes are persuasive and seem authentic, they pose profound “risks to

democratic processes.” Id. ¶ 23. They are a “potent tool,” allowing malicious actors to




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fabricate credible evidence that discredits public figures, incites unrest, or even

manipulates elections. Id.

       Deepfakes further present unique risks because traditional fact-checking methods

cannot effectively counter them. Id. ¶¶ 24-30; West Decl. ¶¶ 20-23. For example,

deepfakes often lack the “textual inconsistencies or factual errors that traditional methods

uncover.” Hancock Decl. ¶ 24. Moreover, deepfakes spread rapidly across multiple social

media platforms, hampering timely detection and correction. Id. ¶ 25; West Decl. ¶¶ 13-

16. Indeed, “[b]y the time a fact-checker debunks one deepfake in one community, there

are already five more spreading virally on social media,” which social media algorithms

are designed to amplify. West Decl. ¶¶ 20-22. Similarly, labeling content as a “deepfake”

can make people more skeptical; but the same label can undermine the credibility of

authentic information. Hancock Decl. ¶ 26. And erroneously labeling content as a deepfake

further “delegitimize[s] truthful communication and diminish[es] public confidence in

accurate information.” Id. Delegitimizing truthful content is known as “‘the liar’s

dividend,’ where individuals exploit the existence of deepfakes to deny the authenticity of

real events by claiming they are fabricated.” Id.

       Deepfakes are also unique because of the impact of false memory and repeated

exposure. Id. ¶ 28-30. A large, global study found that deepfakes “contribute to the Illusory

Truth Effect (ITE)—a psychological phenomenon where repeated exposure to

misinformation increases its perceived accuracy.” Id. Thus, individuals who had been

exposed to deepfakes—political and non-political—were more likely to believe them. Id.

This study, and other research, confirms that deepfakes “make[] false political information


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more believable,” thereby “posing a threat to democratic institutions and processes.”

Id. ¶ 29.

       C.     The Threat of Deepfakes to Elections.

       Deepfakes’ threat to democratic institutions and outcomes—including elections—

is real and happening now. Last year, in Slovakia, for example, a fake audio recording

emerged a few days before a presidential election. West Decl. ¶ 19. In the recording, one

candidate said he had “rigged the election.” Id. The audio was fake, but it went viral; the

candidate lost a close election. Id. Closer to home, New Hampshire residents received fake

audio from Joe Biden urging them not to vote in the Democratic primary, while Chicago

residents saw false video of a leading candidate in a tight mayoral race. Id. And before

election day in Taiwan, a group associated with the Chinese Communist Party posted a

deepfake falsely depicting a main candidate endorsing another candidate. Id.

II.    MINNESOTA ENACTS THE ELECTORAL DEEPFAKE LAW.

       In 2023, the Minnesota legislature addressed the emerging threat of deepfakes. The

legislation concerned two of the most pressing issues: “revenge porn” and elections. See

2023 Minn. Laws ch. 58, §§ 1-3 (to be codified at Minn. Stat. §§ 604.32, 609.771, 617.262).

Relevant here, the legislature adopted a targeted set of criminal penalties and civil remedies

to address the unique threats that deepfakes pose to elections. Minn. Stat. § 609.771. In

doing so, the House bill’s chief sponsor testified in multiple committee hearings about the

risks AI poses to election integrity. E.g., Hearing on H.F. 1370 before the H. Elections Fin.

& Pol’y Comm., 93d Leg., Reg. Sess. (Minn. Feb. 15, 2023) (statement of Rep. Zach




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Stephenson) [Farrell Decl. ¶ 24].2 The Senate bill’s chief sponsor similarly testified about

those same threats and affirmed that bill was focused on deceptive deepfakes—not

parodies. See, e.g., Hearing on S.F. 1394 before the S. Elections Comm., 93d Leg., Reg.

Sess. (Minn. Mar. 14, 2023) (statement of Sen. Maye Quade) at 1:28:05-:29:10 [Farrell

Dec. ¶ 28]. The deepfake statute passed with near-unanimous, bipartisan support, including

that of Franson. See Minn. H.J., 93d Leg., Reg. Sess. 8481 (2023) (vote 131-0); Minn. S.J.,

93d Leg., Reg. Sess. (2023) (vote 66-1).

       The legislature further refined the law this year. See 2024 Minn. Laws ch. 122, art. 2,

§§ 76-78 (to be codified at Minn. Stat. § 609.771, subds. 2-4) [hereinafter 2024

Amendments].3 The amendments strengthened the statute before the 2024 election cycle,

using the recent Biden robocall as an example of deepfakes’ growing threat. See, e.g.,

Hearing on S.F. 3550 before the S. Elections Comm., 93d Leg., Reg. Sess. (Minn. Feb. 15,

2024) (statement of Sen. Maye Quade) [Farrell Decl. ¶ 33]. In supporting the bill,

Minnesota’s Secretary of State summarized the risks: “If AI generated deepfakes are used

to misdirect voters, the result could be disruption and disenfranchisement. In the hands of

those who want to mislead, A.I. tools can represent a revolution in their ability to cause

harm and corrode faith in our system.” Hearing on H.F. 3625 before the H. Elections Fin.




2
  Links to all the Minnesota House and Senate committee hearings on the deepfake
legislation in 2023 and 2024 are listed in paragraphs 24-33 of the Farrell declaration.
3
  The 2024 amendments to section 609.771 are not yet codified, but available here:
https://www.revisor.mn.gov/laws/2024/0/112/laws.2.76.0#laws.2.76.0.

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& Pol’y Comm., 93d Leg., Reg. Sess. (Minn. Feb. 21, 2024) (statement of Minn. Sec’y of

State Steve Simon) at 1:08:20-:33 [Farrell Decl. ¶ 31].

        In its current form, section 609.771 prohibits disseminating deepfakes only if “the

person knows or acts with reckless disregard about whether the item being disseminated is

a [deepfake],” and three conditions are satisfied. Id. § 76, subd. 2(a). First, dissemination

must be made without the depicted individual’s consent. Id., subd. 2(1). Second, the

disseminator must intend to injure a candidate or influence an election result. Id.,

subd. 2(2). And last, the law applies only if disseminated in strict time periods: either

“within 90 days before a political party nominating convention” or “after the start of the

absentee voting period prior to a presidential nominating primary, or a regular or special

state or local primary or general election.” Id., subd. 2(3)(i)-(ii). The statute defines several

key terms that are relevant to understanding its scope. Minn. Stat. § 609.771, subd. 1

(defining “candidate,” “deep fake,” “depicted individual”). It also creates criminal and civil

penalties and remedies for enforcement. Id. subds. 3, 4; 2024 Amendments, §§ 77-78.

III.    PLAINTIFFS BRING BELATED LAWSUIT.

        In late September, Plaintiffs challenged the deepfake statute. According to the

complaint, Kohls creates and posts political satire on multiple social-media platforms.

Compl. ¶ 8. Earlier this summer, Kohls posted a video parodying U.S. Presidential

candidate Kamala Harris. Id. Kohls generated the narration in the video through AI,

interspersing it with real clips of Harris. Id. Kohls labeled the video as parody. Id. The

video includes Vice President Harris making many absurd statements, like:

    “I was selected because I am the ultimate diversity hire.”


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      “[I]f you criticize anything I say, you’re both sexist and racist.”

      “I may not know the first thing about running the country, but remember that’s a
       good thing if you’re a deep state puppet.”

      “I had four years under the tutelage of the ultimate deep state puppet, a wonderful
       mentor, Joe Biden. Joe taught me rule number one: carefully hide your total
       incompetence.”

      “You think the country went to [beeped out expletive] over the past four years? You
       ain’t seen nothing yet.”

Id. ¶ 26.4 Elon Musk retweeted the video. Musk’s tweet produced over 100 million

impressions; his post was retweeted more than 240,000 times. Id. ¶ 8.

        Franson is a state representative and candidate for reelection next week. Id. ¶ 16.

Franson voted for the 2023 deepfake statute but opposed the 2024 amendments. Id. ¶¶ 44,

60. She retweeted the Kohl’s parody video. Id. ¶ 33. She alleges she has concerns about

liability under the statute, but does not allege she has been investigated or prosecuted.

Id. ¶ 34.

        Plaintiffs allege that the deepfake statute infringes on their First Amendment free

speech rights and is unconstitutionally vague in violation of the Fourteenth Amendment.

Id. ¶¶ 87-122. They bring facial and as-applied challenges against the Minnesota Attorney

General and the Douglas County Attorney. Id. ¶¶ 18-19. As relief, Plaintiffs seek a

permanent injunction prohibiting the enforcement of the deepfake statute plus a declaratory

judgment. Id. at 48. They now seek a preliminary injunction.




4
    The video is available here: https://www.youtube.com/watch?v=sVspeqNnoWM.

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                                       ARGUMENT

       A preliminary injunction is an extraordinary remedy. Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 24 (2008). When deciding whether to issue a preliminary

injunction, courts consider: (1) irreparable harm to the movant; (2) the harms of granting

or denying the injunction; (3) the moving party’s likelihood of success on the merits; and

(4) the public interest. Ng v. Bd. of Regents of Univ. of Minn., 64 F.4th 992, 997 (8th Cir.

2023). No single factor is dispositive; the court must balance all factors before issuing an

injunction. Id.

       Here, no factor favors injunctive relief. Plaintiffs are not likely to succeed on the

merits because they lack standing and their facial First and Fourteenth Amendment claims

are deficient; they have failed to show irreparable harm; and the equities and public interest

favor Minnesota.

I.     PLAINTIFFS ARE UNLIKELY TO SUCCEED.

       The Court should deny Plaintiffs’ motion because they are unlikely to succeed on

the merits. Plaintiffs lack standing and, alternatively, their facial First Amendment and

vagueness claims will not succeed.

       A.     Plaintiffs Lack Standing Because They Have Failed to Allege Injury.

       As a threshold matter, Plaintiffs are unlikely to succeed because they lack standing.

To establish Article III standing, a plaintiff must show (1) a concrete, particularized injury,

(2) that is fairly traceable to the defendant, and (3) that the court can redress with a

favorable decision. Turkish Coal. of Am., Inc. v. Bruininks, 678 F.3d 617, 621 (8th Cir.

2012). Plaintiffs lack standing here for several reasons.


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               1.    Plaintiffs have not alleged any past, present, or imminent
                     violation of the statute.

       To establish injury in fact, Plaintiffs must show either that they face an imminent

risk of prosecution for past conduct, see Eckles v. City of Corydon, 341 F.3d 762, 768 (8th

Cir. 2003), or that the challenged statute is chilling them from engaging in arguably

protected speech. 281 Care Comm. v. Arneson, 638 F.3d 621, 627 (8th Cir. 2011)

[hereinafter 281 Care Comm. I]. To meet these standards, Plaintiffs must identify conduct

that is at least “arguably proscribed” by the challenged law. Susan B. Anthony List v.

Driehaus, 573 U.S. 149, 162 (2014).

       Plaintiffs argue that the statute “arguably proscribes” their conduct because it could

be read to cover their activities. See Mem. 16. But Plaintiffs rely on an interpretation that

cannot be squared with the statute’s plain language.

                     a.     The statute covers only deepfakes that a reasonable person
                            would perceive as real, not satire or parody.

       The statute does not sweep as broadly as Plaintiffs claim. The statute defines

deepfake as:

       [A]ny video recording, motion-picture film, sound recording, electronic
       image, or photograph, or any technological representation of speech or
       conduct substantially derivative thereof:

          (1) that is so realistic that a reasonable person would believe it depicts
              speech or conduct of an individual who did not in fact engage in such
              speech or conduct; and

          (2) the production of which was substantially dependent upon technical
              means, rather than the ability of another individual to physically or
              verbally impersonate such individual.

Minn. Stat. § 609.771, subd. 1(c) (emphasis added).


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       Critically, the statute requires that the representation be realistic enough so that a

reasonable person would believe its content is real. Id. Thus, the statute covers only

deepfakes realistic enough to convince a reasonable person that the depicted person did or

said something that they did not do or say.5 By prohibiting only depictions that a reasonable

person would believe are real, the statute excludes parody, which the Supreme Court has

defined as content that no reasonable person would believe to be factual. See Hustler v.

Falwell, 485 U.S. 46, 57 (1988) (First Amendment protected parody of public figure that

“could not ‘reasonably be understood as describing actual facts about [respondent] or

actual events in which [he] participated.’”).

       The narrow reach of the deepfake definition in the electoral context stands in stark

contrast to the definition in the deepfake revenge-porn statutes enacted in the same bill.

The revenge-porn definition does not incorporate the requirement that the person did not

engage in the conduct, instead prohibiting more broadly conduct that is a naturalistic

representation. Compare Minn. Stat. § 609.771, subd. 1(c), with id. § 617.262, subd.

1(b)(1).

       This difference in scope reflects the legislature targeting different harms. In the case

of deepfake revenge porn, the harm stems from using a person’s likeness to produce

pornographic material, regardless of whether a reasonable person would believe that the

content is real. For instance, a deepfake video depicting sexual acts supposedly occurring



5
  Such videos would include the deepfake video that Plaintiffs note the legislature
discussed, such as a false depiction of Ukraine’s president “urging his troops to retreat and
surrender” to Russia. Compl. ¶ 42.

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on the Moon would still qualify, even though no one would believe that the depicted acts

actually happened. In the election context, however, the harm stems not from appropriating

a person’s likeness or identity, but rather from the impact on a reasonable observer’s

understanding of reality. As a result, the law excludes satirical or parodic material from

the definition of “deepfake.” Such material would not cause a reasonable person to think

that the depicted individuals actually did something that they did not do.

                       b.   The statute does not apply to Plaintiffs’ alleged conduct.

       When the scope of the deepfake statute is properly understood, Plaintiffs lack

standing because their alleged conduct is beyond the statute’s scope. A plaintiff cannot

manufacture standing simply by proffering an interpretation of the challenged law that

might cover their conduct. Christian Action League of Minn. v. Freeman, 31 F.4th 1068,

1074 (8th Cir. 2022).

       A court must construe the law at issue before assessing whether it applies to a

plaintiff’s conduct. See id.; see also Missouri v. Yellin, 39 F.4th 1063, 1070 (8th Cir. 2022)

(rejecting request to enjoin hypothetical interpretation that federal government had

explicitly disclaimed and without alleging injury from government’s actual interpretation).

For example, in Christian Action, the plaintiff sought to enjoin enforcement of a

harassment statute against it for planned conduct. Christian Action, 31 F.4th. at 1072. The

Court ultimately determined that, although the statute was facially ambiguous, the plaintiff

lacked standing because the statute, properly construed, did not prohibit the desired

activities. Id. at 1074.




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       Plaintiffs suggest they have standing merely by identifying supposed legal disputes

about a statute’s scope. Mem. 16. But as Christian Action and Yellin illustrate, the

“arguably proscribed” standard recognizes that people might be reasonably chilled, and

therefore would have standing, only when there is a high likelihood exists that their lawful

activities might trigger mistaken enforcement. It does not apply when plaintiffs unilaterally

assert a broad reading of a statute that no enforcement authority endorses.

       Neither case Plaintiffs cite for their understanding of “arguably proscribed”

establish that a mere dispute over statutory interpretation confers standing. Indeed, one

case did not even involve a statutory-interpretation dispute. See Animal Legal Def. Fund v.

Vaught, 8 F.4th 714, 718-19 (8th Cir. 2021). In the other, the court did not assess the scope

of the challenged statute as part of the standing analysis; it instead held that plaintiffs failed

to demonstrate likelihood of success because they could not show that the statute applied

to their speech. Turtle Island Foods, SPC v. Thompson, 992 F.3d 694, 701 (8th Cir. 2021).

In that same case, however, the dissent argued that the plaintiffs lacked standing because

the challenged statute did not cover their conduct. Id. at 702 (Colloton, J., dissenting). And

the following year, the Eighth Circuit issued two decisions (Christian Action, Yellin)

adopting that analysis: a plaintiff lacks standing if the statute does not apply to the speech

at issue. Those decisions control here.




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       Thus, Plaintiffs cannot establish injury without showing that the statute, properly

construed, arguably applies to their conduct. Plaintiffs’ allegations make clear that it does

not.6 Plaintiffs’ Complaint discusses only the following specific posts and materials:

           Franson’s retweet of an account that posted laughing emojis in response to
            “an image by the Babylon Bee, a satire publication, captioned ‘Oh No! Tim
            Walz Just Waved So Hard His Arms Flew Off!’” accompanied by an image
            depicting “Gov. Walz at a political rally, except his forearms have flown off
            their bones.” Compl. ¶ 5.
           The Kohls video created “in the style of a campaign ad for Vice President
            Kamala Harris” narrated by a “voice that sounds like Kamala Harris” saying
            “outlandish things like ‘Joe taught me rule number one: carefully hide your
            total incompetence’”. Compl. ¶¶ 5-6. Kohls labeled this video “parody”
            when he posted it YouTube, and acknowledged that “‘Sound or visuals were
            significantly edited or digitally generated.’” Id. ¶ 6; see also id. ⁋ 26 (more
            fully describing video).
           Franson’s retweet of Elon Musk’s post sharing the July 26 video and
            commenting, “This is amazing  .”. Id. ¶ 5.
           Kohls’s video depicting “an imaginary phone call between Harris and Tim
            Walz, featuring AI-generated dialogue from both candidates where the voice
            of ‘Harris’ claims ‘we’re both radical communists’ before recounting Walz’s
            perceived political liabilities.” Id. ¶ 31.
Plaintiffs’ memorandum supporting injunctive relief motion is even narrower, discussing

only Kohls’ July 26 video. Mem. 5-8.

       Plaintiffs do not allege that any law enforcement authority in Minnesota has claimed

or even suggested that these posts violate the deepfake law. And for good reason: While

perhaps in poor taste, none is even arguably “so realistic that a reasonable person would

believe it depicts speech or conduct of an individual who did not in fact engage in such




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  To the extent Plaintiffs argue whether California law prohibits their conduct, those
arguments are irrelevant to Minnesota law.

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speech or conduct.” Minn. Stat. § 609.771, subd. 1(c)(1). Plaintiffs repeatedly concede this,

emphasizing the implausibility of their posts and noting their additional efforts to present

them as satire or parody. See, e.g., Compl. ¶ 27 (describing content as “obviously far-

fetched and over-the-top content of the video make its satirical nature clear to many

viewers”); see also Mem. 2, 5. Because Minnesota law does not prohibit any of their

alleged conduct, Plaintiffs lack injury.

       Nor can Plaintiffs save their standing argument by vaguely referring to other content

that they claim the law prevents them from “making, distributing, and consuming.”

Mem. 16. Conclusory allegations are insufficient to establish injury. See Missouri

Roundtable for Life v. Carnahan, 676 F.3d 665, 673-74 (8th Cir. 2012). Plaintiffs have not

described any such materials with enough specificity to determine if any could reasonably

be interpreted to violate the statute.

               2.     Plaintiffs face no imminent risk of prosecution.

       Parties bringing a pre-enforcement challenge based on past conduct must allege

more than a speculative possibility of enforcement. See Sch. of the Ozarks, Inc. v. Biden,

41 F.4th 992, 998 (8th Cir. 2022). Conclusory allegations about potential criminal

sanctions are insufficient to establish a First Amendment injury. Missouri Roundtable, 676

F.3d at 673.

       Here, Plaintiffs have not—and cannot—allege that either Defendant intends to

prosecute them under the deepfake statute. Plaintiffs instead broadly speculate that the

statute “will be enforced against Plaintiffs and impose criminal liability on them for

creating and/or disseminating AI-generated political commentary on social media.”


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Compl. ¶ 100. In this case, the absence of any enforcement activities is particularly striking

given the amount of attention Plaintiffs allege the July 26 video received. See id. ¶ 8. Unless

and until Plaintiffs can allege facts indicating that they are at imminent risk of prosecution,

they lack a cognizable injury.

              3.     The statute has not chilled Plaintiffs’ conduct.

       Parties may also establish standing to bring pre-enforcement challenges by

demonstrating that a statute’s existence chills them from otherwise engaging in arguably

protected speech. 281 Care Comm. I, 638 F.3d at 627. Establishing a chilling injury

requires a plaintiff to show objectively reasonable self-censorship to avoid a credible threat

of prosecution or other adverse action. Henderson v. Springfield R-12 Sch. Dist., 116 F.4th

804, 810 (8th Cir. 2024). When a plaintiff does not claim any threatened or likely

prosecution, they do not sufficiently allege a justiciable dispute. Babbitt v. United Farm

Workers Nat’l Union, 442 U.S. 289, 298-99 (1979). Further, a court need not credit general,

conclusory allegations when a complaint’s more specific allegations belie them. Hirsch v.

Arthur Andersen & Co., 72 F.3d 1085, 1092 (2d Cir. 1995).

       Plaintiffs do not allege a chilling injury. As previously discussed, Plaintiffs do not

describe with any specificity what materials they have refrained from disseminating.

Moreover, their actions show that the deepfake law has not affected what they post. See,

e.g., Compl. ¶¶ 81; Mem. 11, 16. For example, Plaintiffs repeatedly proclaim their intent

to continue posting the type of content they claim violates the law. See, e.g., Compl. ¶¶ 31,

36-37, 85. And Plaintiffs’ online accounts underscore they have not been “chilled.” Not

only are the cited posts still up, they have posted other similar materials, in some cases


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asserting that they might violate the law. See Farrell Decl. Exs. 1-21 (collecting Franson

social media posts and Kohls videos). Because Plaintiffs allege no chilling injury, they lack

standing.

       B.     Plaintiffs’ Facial Challenge Fails Because Minnesota’s Electoral
              Deepfake Statute Has a Legitimate Sweep.

       Even if Plaintiffs had standing, their First Amendment claims will fail on the merits.

Plaintiffs seek to enjoin the electoral deepfake statute in all applications. Mot. 1. Because

this relief would reach beyond Plaintiffs’ circumstances, they must satisfy the rigorous

standards for a facial challenge. John Doe No. 1 v. Reed, 561 U.S. 186, 194 (2010).

       Even in First Amendment cases, where the standard is less stringent, choosing to

pursue a facial challenge “comes at a cost.” Moody v. NetChoice, LLC, 144 S. Ct. 2383,

2397 (2024). Constitutional claims are better handled on a case-by-case basis, not en

masse. Id. Claims of facial invalidity often rest on speculation about the law’s coverage

and its future enforcement. Id. And facial challenges threaten to short circuit the democratic

process by preventing duly enacted laws from being implemented in constitutional ways.

Id. Facial challenges are thus “hard to win.” Id. In the First Amendment context, a plaintiff

can prevail on a facial challenge only if it can show that a substantial number of the law’s

applications are unconstitutional, judged in relation to the statute’s plainly legitimate

sweep. Id.

       In Moody, the Supreme Court reiterated this framework for facial challenges, and

then vacated injunctions from two circuits because the plaintiffs failed to make the proper

showing. Id. Applying Moody, the Eighth Circuit has outlined a process for a proper facial



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analysis. The first step is assessing the challenged law’s scope, which includes considering

the activities that the law prohibits or regulates. GLBT Youth in Iowa Schs. Task Force v.

Reynolds, 114 F.4th 660, 669 (8th Cir. 2024). The second step is determining which of the

law’s applications violate the First Amendment. Id. at 670. The last step is to measure the

unconstitutional applications against the remaining provisions. Id.

       As the parties seeking a preliminary injunction, Plaintiffs bear the burden of

establishing that they are entitled to relief. Granny Goose Foods, Inc. v. Bhd. of Teamsters

& Auto Truck Drivers Local No. 70, 415 U.S. 423, 441 (1974). Yet they make no attempt

to engage with the Moody test. Indeed, Plaintiffs do not even cite Moody (or GLBT).

Instead, Plaintiffs make the same mistake as the Moody plaintiffs, focusing narrowly on

why they believe the electoral deepfake law wrongly extends to political speech that

constitutes parody (it does not). Mem. 1-5, 18-37. Their failure to grapple with any part of

the Moody test is alone a sufficient basis for denying injunctive relief. See GLBT, 114 F.4th

at 670. Properly applying that analysis also makes clear that Plaintiffs are unlikely to

prevail.

              1.     The deepfake statute contains important limitations on its scope.

       The first step in a facial challenge is assessing the challenged law’s scope. The

deepfake statute prohibits (1) disseminating 7 a deepfake (2) if the person knows or acts

with reckless disregard about whether the item being disseminated is a deepfake, (3)

without the depicted individual’s consent, (4) with the intent to injure a candidate or


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 The statute also prohibits contracting to disseminate deceptive deepfakes, but Plaintiffs
make no argument about this provision.

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influence an election’s result, and (5) dissemination occurs within 90 days of a nominating

convention or after absentee voting has begun, which is 46 days before an election. 2024

Amendments § 76, subd. 2(a); Minn. Stat. § 203B.081, subd. 1. Moreover, as discussed

extensively above, the statute defines “deepfake” as a false depiction “that is so realistic

that a reasonable person would believe it depicts speech or conduct of an individual who

did not in fact engage in such speech or conduct.” Minn. Stat. § 609.771, subd. 1(c)(1).

       These requirements place four important constraints on the law’s scope. First, by

confining deepfakes to creations so realistic that a reasonable person would believe it

depicts real conduct, the law does not include parodies. Second, the law requires two stages

of intent. At the first level, the law applies only if a person knows the deepfake is false or

recklessly disregards its probable falsity. Third, the other intent requirement further

narrows the statute. The disseminator must intend to injure a candidate or more generally

influence an election. And finally, the limited time in which the prohibition applies

confines the statute’s application to those periods where deepfakes are most difficult to

address with counterspeech: shortly before and while people are casting votes.

              2.     None of the electoral deepfake statute’s applications violate the
                     First Amendment.

       Correctly understood, none of electoral deepfake’s applications violate the First

Amendment. All speech covered by the law falls into categories recognized by the Supreme

Court as lacking First Amendment protection. Alternatively, even if the statute captures

some protected speech, the statute satisfies the applicable level of scrutiny.




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                     a.      The First Amendment does not protect the false speech that
                             the electoral deepfake statute prohibits.

       While free speech rights are, of course, broad, the First Amendment does not protect

certain categories of speech. Chaplinsky v. New Hampshire, 315 U.S. 568, 571-72 (1942).

These unprotected categories include “false speech undertaken to accomplish a legally

cognizable harm.” Animal Legal, 8 F.4th at 786. They also include false speech made to

accomplish a fraud. See United States v. Alvarez, 567 U.S. 709, 717 (2012) (plurality

opinion); see also id. at 734 (Breyer, J., concurring). The speech affected by the electoral

deepfake statute falls into these categories.

                             i.     Electoral deepfakes are false speech that cause
                                    legally cognizable harm.

       States can proscribe “[f]alse speech aimed at accomplishing a legally cognizable

harm.” Animal Legal, 8 F.4th at 786. If the false speech involves matters of public concern,

it may be prohibited when made with “actual malice,” which requires knowledge or

reckless disregard of falsity. Dun & Bradstreet, Inc. v. Greenmoss Builders, Inc., 472 U.S.

749, 755 (1985).

       Minnesota’s law bans deepfakes that fit squarely into this class of unprotected

speech. The proscribed deepfakes are definitionally false: the statute applies only to

deepfakes depicting conduct that did not happen. Minn. Stat. § 609.771, subd. 1(c)(1).

Moreover, the statute proscribes dissemination of deepfakes only when the disseminator

“knows or acts with reckless disregard” as to falsity, consistent with the First Amendment’s

actual-malice standard. 2024 Amendments, § 76, subd. 2(a).




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       Finally, the proscribed deepfakes work multiple legally cognizable harms. A

knowingly false statement intended to harm a candidate is defamation. Knowing and

reckless defamatory falsehoods are unprotected by the First Amendment because of the

harms they inflict on an individual’s dignity and reputation. See Gertz v. Robert Welch,

Inc., 418 U.S. 323, 342-43 (1974). Even when deepfakes are more generally intended to

influence an election, they harm voter rights. Free and fair elections are a cornerstone of

our democracy. The right to cast votes is a fundamental right that further protects all other

rights. Reynolds v. Sims, 377 U.S. 533, 561-62 (1964). Intentionally providing voters with

false or misleading information injures that right. Soltysik v. Padilla, 910 F.3d 438, 445-46

(9th Cir. 2018); Bishop v. Bartlett, 575 F.3d 419, 424 (4th Cir. 2009); Burton v. Georgia,

953 F.2d 1266, 1269 (11th Cir. 1992); cf. Grimes v. Smith, 776 F.2d 1359, 1367 (7th Cir.

1985) (recognizing Congress’s power to proscribe misleading of voters). Indeed, in the

context of shareholder voting, the Eighth Circuit has recognized that providing false or

misleading information to voters is actionable because such statements interfere with “the

free exercise of voting rights.” Carpenters’ Pension Fund of Ill. v. Neidorff, 30 F.4th 777,

786 (8th Cir. 2022); see also Va. Bankshares, Inc. v. Sandberg, 501 U.S. 1083, 1087 (1991)

(recognizing that providing false information when shareholders vote creates a legally

cognizable harm).

       Minnesota’s electoral deepfake statute reaches only those deepfakes intended to

cause such harms. The deepfake must be made with actual malice and either be intended

to injure a candidate or more generally influence an election. In either circumstance, the




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deepfake works a legally cognizable harm. It is therefore entitled to no First Amendment

protection.

                             ii.    Electoral deepfakes are false speech made to
                                    accomplish a fraud.

       The government may also prohibit false speech made to accomplish a fraud.

Alvarez, 567 U.S. at 717. Such prohibitions are permissible even without a financial or

property loss. Id. at 721. Rather, intent to defraud is satisfied if the false statement is made

“to cause the deceived person to follow some course he would not have pursued but for the

deceitful conduct.” United States v. Lepowitch, 318 U.S. 702, 704 (1943).

       The deepfakes banned by Minnesota’s law also fit squarely into this category. The

deepfakes are false statements, made with actual malice, and intended to cause voters to

impact how a voter would vote “but for the deceitful conduct,” either by specifically

injuring a candidate or more generally by influencing the election. Minn. Stat. § 609.771,

subd. 2(3). Minnesota may thus prohibit them consistent with the First Amendment.

                      b.     Even if the statute reaches some speech protected by the
                             First Amendment, the statute is constitutional.

       Even if the Court concludes that the deepfake statute reaches speech entitled to some

First Amendment protection, the Court should deny Plaintiffs’ motion because the law is

constitutional. The law is subject only to intermediate scrutiny. But even if the Court

applies strict scrutiny, the law is narrowly tailored to serve compelling government

interests.




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                            i.      Intermediate scrutiny applies.

       Plaintiffs cite but gloss over Alvarez—the Supreme Court’s leading case on false

statements—and imply that it holds that all laws regulating false statements are subject to

strict scrutiny. But the best reading of Alvarez is that intermediate scrutiny should apply to

Minnesota’s law. Critically, the Alvarez majority could not agree if constitutionally

protected false statements should be subject to strict scrutiny or intermediate scrutiny.

Compare Alvarez, 567 U.S. at 724 (plurality opinion) (applying strict scrutiny), with id. at

731 (Breyer, J., concurring) (applying intermediate scrutiny). Justice Breyer’s concurrence

recognized that “[t]he dangers of suppressing valuable ideas” are lower when false

statements concern easily verifiable facts, as contrasted with false statements “about

philosophy, religion, history, the social sciences, the arts, and the like.” Id. at 730-31. He

also identified a wide range of federal statutes prohibiting false speech—including statutes

regulating fraud, perjury, and impersonation of government officials—and observed that

those statutes contained limitations that narrowed them “to a subset of lies where specific

harm is more likely to occur.” Id. at 736. Justice Breyer concluded that intermediate

scrutiny should apply to government regulations of these types of false speech. Id. at

731-32.

       Post-Alvarez, the Eighth Circuit further recognized the diminished value of false

factual statements, even in the electoral context. Nord v. Walsh Cnty., 757 F.3d 734, 743

(8th Cir. 2014) (recognizing that untrue campaign statements “may be deserving of less

protection.”). And based on the Alvarez concurrence, other district courts have applied

intermediate scrutiny to falsehoods intended to impact how people vote. See, e.g., Nat’l


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Coalition on Black Civil Participation v. Wohl, 661 F. Supp. 3d 78, 120-21 (S.D.N.Y.

2023) (applying intermediate scrutiny to robocalls conveying false information to

discourage people from absentee voting); United States v. Mackey, 652 F. Supp. 3d 309,

344-45 (E.D.N.Y. 2023) (applying intermediate scrutiny to tweet claiming voters could

vote via text message). The Court should do so here as well.

       Plaintiffs disregard the conflicting Alvarez opinions regarding the standard of

review. Instead, they make conclusory arguments that the statute is per se unconstitutional

or that strict scrutiny applies. None has merit.

       Plaintiffs first argue that the electoral deepfake statute sanctions viewpoint

discrimination that is “per se” unconstitutional. Mem. 23. In doing so, Plaintiffs expand

the viewpoint-discrimination doctrine well beyond the boundaries established by the

Supreme Court. Viewpoint discrimination occurs “when the specific motivating ideology

or the opinion or perspective of the speaker is the rationale for the restriction.” Rosenberger

v. Rector & Visitors of Univ. of Va., 515 U.S. 819, 829 (1995). But the deepfake statute

does not favor any specific ideology or opinion. Instead, the statute generally prohibits

deepfakes, regardless of the message conveyed.

       Plaintiffs’ contrary arguments are unmoored from the statute’s text. They claim that

the statute “privileges speech intended to ossify existing voting patterns over speech

intended to alter voting patterns” and “prohibits negative political commentary . . . while

allowing positive or laudatory commentary.” Mem. 21-22. But the statute prohibits

deepfakes intended to influence an election, regardless of whether they influence voters to

change who they are voting for or to solidify voter support. Indeed, whether a deepfake is


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viewed as negative or positive will inevitably vary: a deepfake of a candidate promising to

cut the corporate tax rate to zero will be viewed as a blessing by some and disaster by

others. But the statute is concerned only about the nonconsensual nature of the deepfake—

not whether it promotes or disparages any ideology, opinion, or perspective. It is thus not

viewpoint discriminatory.

       Eighth Circuit precedent from earlier this year drives the point home. Animal Legal

involved a First Amendment challenge to an Iowa law that prohibited false speech to gain

access or employment with agricultural facilities. 89 F.4th at 1068. The law applied only

to false speech intended to harm the agricultural facility. Id. The court rejected animal

rights organizations’ argument that the law amounted to viewpoint discrimination by

criminalizing only false speech intended to harm facilities. Id. at 1069-70. The court held

that the statute did not distinguish speakers based on viewpoints and simply criminalized

using “deception to gain employment with intent to harm a facility.” Id. The intent

requirement was viewpoint neutral: “the offender would be liable for deceptively praising

the facility (‘I love the work you do, and I want to support it!’) or deceptively criticizing

the facility (‘This facility is poorly managed, and I will help increase profits.’).” Id.

Because the law did “not prefer laudatory lies over critical falsehoods,” it did not constitute

viewpoint discrimination. Id.

       So too here. The electoral deepfake statute is indifferent to whether the deepfake is

ossifying, change-inducing, laudatory, or derogatory. What matters is the knowing or

reckless dissemination of a deepfake with intent to intent to injure a candidate or influence

an election. The statute thus does not discriminate based on viewpoint.


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       Plaintiffs argue that 281 Care Committee dictates that strict scrutiny applies. Mem.

21. But 281 Care Committee applied strict scrutiny because the challenged statute

“target[ed] falsity, as opposed to the legally cognizable harms associated with a false

statement.” 281 Care Comm. v. Arneson, 766 F.3d 774, 783 (8th Cir. 2014) [hereinafter

281 Care Comm. II]. Here, by contrast, the challenged statute targets the legally cognizable

harms associated with deepfakes—injuring candidates or influencing voter behavior, both

of which undermine the state’s compelling interest in electoral integrity. Because the

deepfake ban reaches a narrow “subset of lies where specific harm is more likely to occur,”

Alvarez, 567 U.S. at 736, intermediate scrutiny applies to any applications of the statute

that reach constitutionally protected speech.

                             ii.    The electoral deepfake statute passes intermediate
                                    scrutiny.

       A law survives intermediate scrutiny so long as it promotes a substantial

governmental interest that would be achieved less effectively without the regulation and

does not burden substantially more speech than necessary to further the interest. Turner

Broad. Sys., Inc. v. Fed. Commc’ns Comm’n, 520 U.S. 180, 213-14 (1997). The electoral

deepfake statute easily satisfies this standard.

       First, Minnesota has a compelling, and certainly substantial, interest in electoral

integrity. Indeed, the Supreme Court has already recognized that a broader interest in

“ensuring that an individual’s right to vote is not undermined by fraud in the election

process” is compelling. Burson v. Freeman, 504 U.S. 191, 199 (1992) (plurality opinion).

And applying Burson, this Court recently recognized the state’s compelling interest in



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reducing misinformation aimed at preventing someone from voting. Minn. Voters All. v.

Ellison, No. 23-CV-2774, 2024 WL 4222829, at *5 (D. Minn. Sept. 17, 2024), appeal filed

No. 24-3094 (8th Cir. Oct. 16, 2024). Minnesota’s interest in preventing electoral

deepfakes serves the state’s compelling interest in electoral integrity.

       Second, Minnesota’s interest in electoral integrity would be achieved less

effectively absent the deepfake statute. The government satisfies its burden if it

demonstrates a real need to act to protect the interest. Traditionalist Am. Knights of the Ku

Klux Klan v. City of Desloge, 775 F.3d 969, 975 (8th Cir. 2014). Courts should be “loath

to second-guess the Government’s judgment” to that effect. Bd. of Trs. of State Univ. of

N.Y. v. Fox, 492 U.S. 469, 478 (1989).

       The record demonstrates such a need. Unlike historical lies, deepfakes are unique

in that their audio-visual nature make them significantly more likely to be believed than

false text-based information. Hancock Decl. ¶¶ 23-24. Moreover, the ease with which

deepfakes can be created has led to a surge in creating and disseminating deepfakes,

allowing them to be used to present convincing misinformation at scale. Id. ¶¶ 14, 17; West

Decl. ¶ 9. Deepfakes have been used across the globe to influence elections since their

barrier to entry has lowered. West Decl. ¶¶ 9, 19. Indeed, deepfakes may have played a

role in the outcomes of elections in Slovakia and Taiwan this year. Id. ¶ 19. The record

further demonstrates that deepfakes are currently being used to influence the 2024 election.

Id. ¶¶ 13, 19. Existing tools for combatting that influence are inadequate. Id. ¶¶ 20-23.

There is thus a real need to keep the deepfake statute.




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       Despite the urgent and widely recognized need to act on deepfakes, Plaintiffs

propose two ways in which Minnesota could supposedly achieve its interest without the

law: counterspeech and existing causes of action. Mem. 29-30. Neither protects

Minnesota’s interest as well as the deepfake statute.

       As to counterspeech, Plaintiffs submitted no evidence to support their assertion. The

record evidence instead demonstrates that even when viewers know of deepfakes, they still

struggle to distinguish between real and manipulated content. Hancock Decl. ¶¶ 21, 28-29.

Moreover, counterspeech works only with viable means of combatting the falsehood.

Deepfakes primarily spread on social-media websites. Id. ¶ 16, 25; West Decl. ¶ 13. Those

websites determine what posts are seen by users based on algorithms that favor content

more likely to result in user engagement. West Decl. ¶ 21. Indeed, deepfakes are generally

designed to go viral. Id. ¶ 16. Deepfakes are significantly more favored for display by those

algorithms than counterspeech responding to a deepfake. Id. ¶ 21. This is particularly so

because the low cost and high speed of AI-generated content enables malicious actors to

“flood the zone” with misinformation, overwhelming information ecosystems with

misinformation. Id. ¶¶ 15, 20; Hancock Decl. ¶ 17. Thus, in almost all cases, it will be

impossible to engage in counterspeech that will adequately, or even meaningfully, respond

to a deepfake. Cf. Davis v. FEC, 554 U.S. 724, 753-54 (2008) (“[F]ar from contravening

the First Amendment, [the law] actually advances its core principles. If only one candidate

can make himself heard, the voter’s ability to make an informed choice is impaired.”).

Counterspeech is thus not sufficient to protect Minnesota’s interest in combatting

deepfakes that are designed to harm the electoral process.


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       Existing causes of action—like defamation, false light, privacy torts, and copyright

infringement—are also insufficient. Private rights of action require private parties to

choose to incur the significant costs of litigation to vindicate legal rights. But protecting

the public’s compelling interest in electoral integrity cannot be at the mercy of private

actors. Nor do such actions protect the state’s election-integrity interests, as such actions

are unlikely to resolve before the election and do not enjoin the speech. Moreover,

Minnesota does not even recognize one cause of action highlighted by Plaintiffs. See Lake

v. Wal-Mart Stores, Inc., 582 N.W.2d 231, 235 (Minn. 1998) (declining to recognize tort

of false light).

       Plus, each private cause of action Plaintiffs identify has elements that do not address

the unique harms that flow from deepfakes. For example, defamation requires the

defendant’s speech harm the plaintiff’s reputation. Rouse v. Dunkley & Bennett, P.A., 520

N.W.2d 406, 410 (Minn. 1994). But a deepfake portrayal may not harm the depicted

person’s reputation, yet still influence an election. Similarly, copyright-infringement

claims require that the original work on which a derivative deepfake is created was made

with the depicted individual’s approval. See 17 U.S.C. §§ 101-02 (requiring that works be

fixed in a tangible medium to be subject to copyright protection and defining “fixed” to

mean by the author or with the author’s approval). Deepfakes may thus be created without

violating copyright law, yet such deepfakes nevertheless still work electoral harms on

Minnesota’s interest.

       Finally, the statute does not burden more speech than necessary to further

Minnesota’s interest. 281 Care Committee II recognized that it is “difficult . . . to envision


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other, less restrictive means” besides counterspeech to pursue the state’s interest, but

declined to uphold the statute at issue in that case because there was no reason to presume

counterspeech would insufficiently vindicate that interest. 766 F.3d at 793-94. Here, in

contrast, multiple experts agree that counterspeech is insufficient to combat the unique

harms that deepfakes inflict. Indeed, the deepfake ban explicitly accounts for limits on

counterspeech, restricting when the statute applies to ninety days before nominating

conventions and while voting is occurring. 2024 Amendments, § 76. In other words, the

law applies when counterspeech will be particularly ineffective and is unlikely to prevent

the election-integrity harms.

                             iii.   The electoral deepfake statute passes strict scrutiny.

       Even if strict scrutiny applies, the statute meets the standard. A statute passes strict

scrutiny if it is narrowly tailored to serve a compelling interest. Williams-Yulee v. Fla. Bar,

575 U.S. 433, 444 (2015). The electoral deepfake statute does so.

       For the reasons discussed above, Minnesota’s interest in reducing deepfakes aimed

at influencing elections—and thereby protecting the state’s interest in electoral integrity—

is compelling. Plaintiffs’ claim that preventing “quid pro quo” corruption is the only

permissible ground for state regulation of false speech on elections is simply wrong. Mem.

23. Plaintiffs rely on cases dealing with campaign-finance laws for that claim, not false

speech. E.g., FEC v. Cruz, 596 U.S. 289, 305 (2022); Citizens United v. FEC, 558 U.S.

310, 318 (2010). And, contrary to Plaintiffs’ claim, the Court has long recognized a state’s

compelling interest in preserving election integrity and protecting voters from confusion

and undue influence. Burson, 504 U.S. at 199.


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       The deepfake ban is narrowly tailored to further these interests. A statute that affects

constitutionally protected speech is narrowly tailored to serve the state’s compelling

interest if (a) the statute actually advances the state’s interest, (b) the statute does not sweep

too broadly, (c) the statute does not leave significant influences bearing on the interest

unregulated, and (d) no other statute could advance the interest as well and infringe less

speech. Doe v. Bell, 969 F.3d 883, 892 (8th Cir. 2020). The deepfake statute meets these

requirements.

                                     (a)     The statute is necessary.

       First, the deepfake statute actually advances the state’s interest. A statute meets this

requirement if it is “actually necessary.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 799

(2011). As previously discussed, deepfakes are particularly harmful to Minnesota’s

election-integrity interests because their audio-visual nature makes them particularly

susceptible to belief, even when individuals know about deepfakes. Moreover, deceptive

deepfakes are actively being used to influence the 2024 election. Existing tools, meanwhile,

are inadequate to address these harms. The ban established by Minnesota is actually

necessary to combat that influence.

       Plaintiffs offer no evidence to the contrary, just their own speculation and second-

guessing of legislative judgment. They principally point to the lack of Minnesota-specific

election-influencing deepfakes when the legislature enacted the law, Mem. 28. But the

expert evidence conclusively establishes that deepfakes pose a massive threat to elections,

and that deepfakes have influenced elections across the globe. Minnesota (and the dozens




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of states who have enacted similar laws) should not be faulted for addressing the threat

before it manifests in Minnesota.

                                    (b)   The statute does not sweep too broadly.

       Second, the deepfake statute does not sweep too broadly. The law covers only

deepfakes intended to cause specific harms that implicate Minnesota’s interest: injuring a

specific candidate or influencing an election through deception. The intent requirement

narrowly targets these harms. Moreover, the actual-malice requirement ensures that

someone who disseminates a deepfake mistakenly believing that it is real does not violate

the statute.

       Still, Plaintiffs insist that the statute overreaches, principally repeating their

argument that the statute covers parodies. Mem. 28. Not so. As previously discussed, the

statute only reaches portrayals where a reasonable person would believe the depicted

individual engaged in the depicted conduct—not parodies. See supra Arg. Sec. I.A.1.

       Citing 281 Care Committee II, Plaintiffs further contend that the ban somehow

“perpetuates the very fraud” it prohibits because it provides a private right of action. Mem.

28. The deepfake statute importantly differs from the statute at issue there. That statute

allowed anyone to file an administrative complaint with an executive-branch agency. See

281 Care Comm. II, 766 F.3d at 778; In re Excess Surplus Status of Blue Cross & Blue

Shield of Minn., 624 N.W.2d 264, 269 n.4 (Minn. 2001) (explaining that administrative-

hearing office is executive-branch agency). Here, by contrast, only a limited class of

plaintiffs—elected officials and those directly harmed by the deepfake’s dissemination—

can pursue civil relief. See Minn. Stat. § 609.771, subd. 4 (limiting who may seek


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injunctive relief). Moreover, the forum for deepfake complaints is court, not an executive-

branch agency. Deepfake complaints are subject to Rule 11 and the court’s inherent

authority to sanction parties for frivolous complaints and attempts to weaponize the

complaint process. Thus, the electoral-machination concerns that doomed the statute in 281

Care Committee II are not present here. Cf. 2024 Minn. Laws ch. 123, art. 18, § 10 (to be

codified as Minn. Stat. § 554.16) (authorizing attorney’s fees as anti-SLAPP tool to

discourage frivolous litigation); Leindecker v. Asian Women United of Minn., 848 N.W.2d

224, 228 (Minn. 2014) (noting anti-SLAPP statutes curb civil lawsuits that discourage

expression).

                                   (c)    No significant interests are left unregulated.

       Third, the deepfake statute does not leave significant influences bearing on the

interest unregulated. Plaintiffs omit this prong from their narrow tailoring argument. Mem.

23-31. But regardless, Minnesota’s deepfake statute wholly addresses the harms that

motivate it. It reaches all false, nonconsensual, knowingly made deepfakes that are

intended to cause specific harms. And while deepfakes in general are concerning, the

legislature remained mindful of First Amendment free-speech rights by retaining the

actual-malice requirement and the narrow timeframe. Hearing on S.F. 3550 Before the S.

Elections Comm., 2023 Leg., 93th Sess., at 11:22-14:40 (Minn. Feb. 15, 2024) (statements

of Sens. Mark Koran & Erin Maye Quade) [Farrell Decl. ¶ 33]; Hearing on H.F. 1370

Before the H. Elections, Fin., & Pol’y Comm., 2023 Leg., 93th Sess., at 13:30-14:15 (Minn.

Feb. 15, 2023) (statement of Rep. Zach Stephenson) [Farrell Decl. ¶ 24]; see also Dun &

Bradstreet, 472 U.S. at 755 (emphasizing significance of actual-malice standard).


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                                    (d)    No less-infringing regulation is possible.

       Finally, no other regulation infringing less on free-speech rights could replace the

deepfake statute. As discussed above, Plaintiffs’ proposed alternatives of counterspeech

and private actions do not protect Minnesota’s compelling election-integrity interests. This

is particularly true during the period when the statute applies, ninety days before

nominating conventions and while voting is occurring. Accordingly, no less-infringing

regulation is possible.

                                            ***

       Because these four requirements are satisfied, Minnesota’s deepfake statute is

narrowly tailored to serve the state’s compelling interests in electoral integrity.

              3.     The electoral deepfake statute’s plainly legitimate sweep is not
                     outweighed by substantial theoretical unconstitutional
                     applications.

       The last step in a facial challenge analysis is measuring unconstitutional applications

against the lawful ones. GLBT, 114 F.4th at 670. Unless the plaintiff has demonstrated that

the ratio of unlawful-to-lawful applications is “lopsided enough to justify the ‘strong

medicine’ of facial invalidation,” the challenge fails. United States v. Hansen, 599 U.S.

762, 784 (2023). This comparison dooms Plaintiffs’ motion.

       As the preceding discussion makes clear, the First Amendment does not protect the

speech that deepfake statute prohibits because it causes legally cognizable harm or amounts

to fraud. But even if some unconstitutional applications exist, those narrow circumstances

do not create such a lopsided balance to warrant striking down the entire statute. The statute

applies to two types of deepfakes: those that injure a candidate and those that more


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generally influence an election. The candidate-injury application falls squarely within

bedrock First Amendment jurisprudence allowing states to prohibit defamatory falsehoods

(subject to actual-malice requirements like the one in the deepfake ban). Gertz, 418 U.S. at

341. And even if a slight gap exists between the statute’s prohibition and the elements of

defamation, Minnesota laws are to be construed narrowly to avoid constitutional concerns.

See State v. Crawley, 819 N.W.2d 94, 105 (Minn. 2012) (rejecting First Amendment facial

challenge because, despite statute not satisfying all defamation elements, court could

construing it narrowly and limit it to defamation). And as to the second category, it is

difficult to fathom when a deepfake made with actual malice intended to influence an

election would be entitled to constitutional protection (and not satisfy the appropriate level

of scrutiny). But even if such cases exist, they would be rare compared to the statute’s

constitutional applications.

       Because of the statute’s plainly legitimate sweep, Plaintiffs’ facial challenge is

unlikely to succeed on the merits, even if they hypothesize a potential impermissible

application. 8




8
  Plaintiffs plead facial and as-applied First Amendment claims, but they seek preliminary
injunctive relief only for their facial claims. Regardless, Plaintiffs cannot prevail in an as-
applied challenge because they do not allege that the challenged law has been
unconstitutionally applied to them. Phelps-Roper v. Ricketts, 867 F.3d 883, 896 (8th Cir.
2017). Moreover, Plaintiffs plead free speech claims under the Minnesota Constitution.
Mem. 18. But the Eleventh Amendment bars state law claims against the Attorney General.
Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 100 (1984) (federal courts lack
authority to order state officials to conform their conduct to state law); Minn. Voters
Alliance v. Walz, 492 F. Supp. 3d 822, 833 (D. Minn. 2022) (same).

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       C.     The Deepfake Statute Is Not Void for Vagueness.

       Nor are Plaintiffs likely to succeed on their vagueness challenge. A law is

unconstitutionally vague if it (1) “fails to provide a person of ordinary intelligence fair

notice of what is prohibited” or (2) “is so standardless that it authorizes or encourages

seriously discriminatory enforcement.” United States v. Williams, 553 U.S. 285,

304 (2008). Although a more stringent test applies when a statute interferes with First

Amendment rights, “perfect clarity and precise guidance have never been required even of

regulations that restrict expressive activity.” Id. (quotation omitted). Moreover, in facial

vagueness challenges, courts must consider limiting constructions. Vill. of Hoffman Ests.

v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 494-95 & n.5 (1982).

       As an initial matter, Plaintiffs wrongly conflate their vagueness and First

Amendment claims. Vagueness and free-speech claims are distinct. The former stems from

the due process clause, while the latter is rooted in the First Amendment. Williams, 553

U.S. at 304. Vagueness asks only whether a statute provides fair notice or too much

enforcement discretion to the government. Holder v. Humanitarian L. Project, 561 U.S. 1,

18-21 (2010). It does not turn on scope of protected speech the law applies to, which is the

province of the First Amendment overbreadth doctrine. Id. Plaintiffs improperly conflate

these concepts, arguing that the law is vague because it implicates “vast amounts” of

protected speech. Mem. 32. Because Plaintiffs rest their vagueness claim on overbreadth

arguments, they are unlikely to succeed on the former.




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              1.     The deepfake statute provides fair notice of its proscriptions.

       Even under the proper vagueness analysis, Plaintiffs are unlikely to succeed. Despite

their attempt to parse and inject confusion into various statutory phrases, the deepfake

statute provides fair notice of what it proscribes.

       Reasonable Person. Plaintiffs first challenge the “reasonable person” standard

incorporated into the “deepfake” definition. Mem. 32-33. They suggest the standard as

elusive because people may vary in what they consider realistic. Id.

       The “reasonable person” standard is pervasive, having been used for generations

throughout criminal and civil law; it has a long common law pedigree and “settled legal

meaning[].” Williams, 553 U.S. at 306; Pope v. Illinois, 481 U.S. 497, 501 n.3 (1987);

Reasonable Person, Black’s Law Dictionary (12th ed. 2024) (defining “reasonable person”

as “[a] hypothetical person used as a legal standard”). In obscenity prosecutions, for

example, the jury must be instructed on whether “a reasonable person” would find serious

literary, artistic, political, or scientific value in allegedly obscene material, taken as a

whole. Pope, 481 U.S.at 500-01. Similarly, in defamation, true threat, and impersonation

cases, a statement is not punishable if a reasonable person would not perceive the statement

as factual or threatening. E.g., Nunes v. Lizza, 12 F.4th 890, 896-99 (8th Cir. 2021)

(defamation); Doe v. Pulaski Cnty. Special Sch. Dist., 306 F.3d 616, 622-24 (8th Cir. 2002)

(true threat); United States v. Gilbert, 143 F.3d 397, 398-99 (8th Cir. 1998)

(impersonation).

       Because the “reasonable person” standard has been used for generations in

numerous contexts, it does make the deepfake” statute unconstitutionally vague.


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       Substantially Dependent Upon Technical Means. Plaintiffs next attack the phrase

“substantially dependent upon technical means,” which appears in the subclause limiting

the law to deepfake production “substantially dependent upon technical means, rather than

the ability of another individual to physically or verbally impersonate such individual.”

Minn. Stat. § 609.771, subd. 1(c)(2). Plaintiffs’ argument fails for three reasons.

       First, the phrase “substantially dependent upon technical means” provides

sufficiently clear notice of the conduct within its ambit—namely, the use of technological

tools and processes, rather than human mimicry, to create deceptive content. Indeed, in the

context of deepfakes, the phrase “technical means” is readily understood to encompass

digital manipulation, AI, and other technological methods used to fabricate or alter content.

The statute’s explicit contrast between “technical means” and physical and verbal

impersonation reinforces this interpretation. See Minn. Stat. § 609.771, subd. 1(c)(2).

Moreover, the modifier “substantially” is a common legal term that courts have repeatedly

upheld against vagueness challenges. See, e.g., United States v. Washam, 312 F.3d 926,

930-31 (8th Cir. 2002); accord Recht v. Morrisey, 32 F.4th 398, 415 (4th Cir. 2022).

“Substantially dependent” requires only that technical means play a predominant role in

creating the deceptive content—a determination well within the competence of courts and

juries to make.

       Second, Plaintiffs divorce the language from its context, ignoring that it narrows the

“deepfake” definition. A narrowing definition limits vagueness; it does not create it.

Holder, 561 U.S. at 20-21; Williams, 553 U.S. at 306.




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       Third, Plaintiffs claim that the July 26 video illustrates the phrase’s ambiguity,

advancing several strained hypotheticals to make the same point. As a threshold matter, as

previously discussed, the deepfake law does not cover the July 26 parody video. And even

if any doubt exists, the Attorney General’s “limiting construction” further dooms Plaintiffs’

vagueness challenge. Flipside, 455 U.S. at 495 n.5 (federal courts must consider “any

limiting construction that a state court or enforcement agency has proffered”). But more

fundamentally, Plaintiffs ignore that the deepfake statute’s principal concern is AI-

generated content, not minor video editing. And despite whatever scenarios Plaintiffs may

proffer, a statute does not become vague merely because a plaintiff can conjure up a

hypothetical close cases. Hill v. Colorado, 530 U.S. 703,t 732-33 (2000); Williams, 553

U.S. at 305-06.

       Intent to Injure a Candidate or Influence the Result of an Election. Finally,

Plaintiffs contend that the statute’s “intent” language is impermissibly vague. But “scienter

requirements alleviate vagueness concerns.” Gonzalez v. Carhart, 550 U.S. 124, 149-50

(2007); see also, e.g., Hill, 530 U.S. at 732. And here, the deepfake law imposes two

scienter requirements: the disseminator of a deceptive deepfake must (1) “know[] or act[]

with reckless disregard about whether the item being disseminated is a deepfake” and (2)

“with the intent to injure a candidate or influence the result of an election.” 2024

Amendments, § 76, subd. 2(a); Minn. Stat. § 609.771, subd. 2(4).

       These scienter requirements are grounded in well-settled legal principles and

ameliorate Plaintiffs’ vagueness concerns. Indeed, the knowledge or reckless disregard

requirement mirrors the longstanding actual malice standard for public-official defamation


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claims. See N.Y. Times v. Sullivan, 376 U.S. 254, 279-80 (1964). And the intent language

incorporates a well-settled mental state requirement from Minnesota’s criminal code (“with

intent to”). See Minn. Stat. § 609.02, subd. 9 (defining “with intent to,” for purposes of

criminal law as “the actor either has the purpose to do the thing or cause the result specified

or believes that the act, if successful, will cause the result”); Duhe v. City of Little Rock,

902 F.3d 858, 864 (8th Cir. 2018) (rejecting vagueness challenge in part because ordinance

incorporated mens rea standards defined in state’s criminal code). By incorporating a well-

settled intent standard, the deepfake statute limits the class of potential acts to those with

the specific purpose of injuring a candidate or influencing an election. Taken together,

these scienter requirements give fair notice of whether future conduct violates the law.

They do not render the statute vague.

       Plaintiffs do not meaningfully argue otherwise. They entirely ignore the baseline

requirement that the disseminator knowingly or recklessly distribute a deceptive deepfake.

Nor do they acknowledge that the intent language further cabins the statute’s scope.

Instead, Plaintiffs reiterate their core claim that the statute is too broad because it captures

too much speech. Mem. 35-36. That argument goes to overbreadth, not vagueness, and

fails on its own terms for the reasons already discussed.

              2.      The electoral deepfake statute does not authorize discriminatory
                      enforcement.

       Plaintiffs last argue that the electoral deepfake statute encourages arbitrary or

discriminatory enforcement. A statute cannot be struck down as arbitrary or discriminatory

if it contains minimal enforcement guidelines. Gonzalez, 550 U.S. at 150. The deepfake



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statute exceeds this standard: the scienter requirements and the statute’s detailed definitions

narrow the law’s scope and limit prosecutorial discretion.

       Second, to the extent that Plaintiffs sound alarm bells about civil enforcement, “the

consequences of imprecision” in the civil context “are qualitatively less severe.” Flipside,

455 U.S. at 49899. That is especially true here given that potential civil plaintiffs are limited

to elected state and municipal officials, those depicted in the deceptive deepfake, and

candidates directly injured by the deceptive deepfake. Minn. Stat. § 609.771, subd. 4.

       Finally, in this preenforcement challenge, Plaintiffs’ concerns about arbitrary-and-

discriminatory enforcement are speculative. Gonzalez, 550 U.S. at 150. Despite seeking

the extraordinary remedy of a preliminary injunction, Plaintiffs submitted no evidence of

any discriminatory or arbitrary enforcement. The Court should not indulge Plaintiffs’

speculation about arbitrary enforcement.

II.    PLAINTIFFS FAIL TO DEMONSTRATE ANY POSSIBILITY OF IRREPARABLE HARM.

       To get an injunction, Plaintiffs must demonstrate that they are likely to suffer

irreparable harm. Winter, 555 U.S. at 22. Inability to establish a likelihood of irreparable

harm is an independent ground for denying an injunction. Watkins Inc. v. Lewis, 346 F.3d

841, 844 (8th Cir. 2003).

       Plaintiffs have not established a likelihood of irreparable harm for four independent

reasons. First, no irreparable harm exists when a challenged statute does not cover the

desired activities. Turtle Island Foods, SPC v. Richardson, 425 F. Supp. 3d 1131, 1141

(W.D. Mo. 2019), aff’d, 992 F.3d at 701-02 (holding court did not abuse discretion in

determining plaintiffs failed to show irreparable harm). A defendant’s statement that a


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challenged law does not cover particular conduct dispels any claim of irreparable harm.

Ness v. City of Bloomington, 437 F. Supp. 3d 714, 723 (D. Minn. 2020). That is the case

here.

         Second, Plaintiffs’ admissions that the deepfake law has not chilled them undercut

their claimed harm. Compl. ¶¶ 31, 37. A plaintiff whose conduct has not changed since

enactment of the challenged provision “seriously undermine[s]” any claim of harm. Minn.

State Coll. Student Ass’n, Inc. v. Cowles, 620 F. Supp. 3d 835, 854-55 (D. Minn. 2022).

         Third, Plaintiffs’ inability to establish likelihood of success on the merits also

precludes a finding of irreparable harm. See Powell v. Noble, 798 F.3d 690, 702 (8th

Cir. 2015).

         Finally, a plaintiff must demonstrate reasonable diligence to show irreparable harm.

See Adventist Health Sys./SunBelt, Inc. v. U.S. Dep’t of Health & Hum. Servs., 17 F.4th

793, 805-06 (8th Cir. 2021) (affirming no irreparable harm existed when plaintiff waited a

year to challenge new policy); see also Hotchkiss v. Cedar Rapids Cmty. Sch. Dist., 115

F.4th 889, 894 (8th Cir. 2024); Cowles, 620 F. Supp. 3d at 855.

         The delay is particularly egregious with respect to Franson. As a legislator who

helped enact the deepfake law, she was aware of the law since February 6, 2023, when the

original bill was first introduced to the House. And she voted to enact it on May 16, 2023.

Compl. ¶¶ 40, 51.9 Despite that awareness, Plaintiffs waited more than a year after the law



9
  Although the 2024 amendments added penalties for violations, the 2023 law already
included criminal penalties and the potential for injunctive relief. Nor did the amendments
affect the statute’s definition of deepfake. Compl. ¶¶ 57, 61-66.

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was enacted and two months after they both first disseminated Kohls’s July 26 video.

Instead of seeking relief promptly, they asked this Court to expedite review of their motion

and potentially halt enforcement of a law intended to protect elections just weeks before a

presidential election. They have not—and cannot—offer any reasonable justification for

their delays.

III.    THE BALANCE OF THE EQUITIES AND THE PUBLIC INTEREST DO NOT FAVOR AN
        INJUNCTION.

        Neither the balance of the equities nor the public interest favors injunctive relief.

These factors essentially merge when a plaintiff seeks injunctive relief against the

government. Nken v. Holder, 556 U.S. 418, 435 (2009). To analyze these factors, the court

must balance the harms that arise from granting or denying the injunction, paying particular

attention to the public consequences. Winter, 555 U.S. at 24.

        The equities and public interest decisively cut against an injunction here. Most

importantly, Plaintiffs have failed to show a likelihood of success, which is fatal to any

request for injunctive relief. Eggers v. Evnen, 48 F.4th 561, 566-67 (8th Cir. 2022).

        Nor will Plaintiffs suffer any injury without injunctive relief. As they have for nearly

the past year and half, they are free to engage in political satire and parody and offer their

viewpoint. The deepfake statute does not proscribe these expressive activities. Their delay

in seeking injunctive relief and their conduct before and after they did so prove that they

are not injured. Minnesota, by contrast, will suffer irreparable injury from an injunction.

Indeed, when a court enjoins a state “from effectuating statutes enacted by representatives

of its people, it suffers a form of irreparable injury.” Maryland v. King, 567 U.S. 1301,



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1303 (2012). That injury is even more pronounced than usual here because an injunction

would significantly impede the conduct of fair elections in Minnesota. See Org. for Black

Struggle v. Ashcroft, 978 F.3d 603, 609 (8th Cir. 2020) (recognizing harm in enjoining

state election procedures).a

                                      CONCLUSION

         The Court should deny Plaintiffs’ motion for a preliminary injunction. Minnesota’s

deepfake law prohibits only a narrow class of unprotected speech. The narrow reach of the

law is underscored by the Complaint—Plaintiffs identify no meaningful threat of

enforcement against them for their past or future conduct. They are therefore unlikely to

succeed on the merits and face no irreparable harm.

Dated: November 1, 2024                     Respectfully submitted,
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